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          Exhibit 8
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
Ex. rel.
         VEN-A-CARE OF THE FLORIDA
         KEYS, INC., a Florida corporation,
         by and through its principal officers
         and directors, ZACHARY T. BENTLEY
         and T. MARK JONES,                            MDL No. 1456

             Plaintiff,                                Master File No. 01-cv-12257-PBS

ACTAVIS MID ATLANTIC LLC, et al.                       Subcategory No. 06-11337-PBS
                                                       Civil Action No. 08-CV-10852
             Defendants
                                                       Judge Patti B. Saris


      JOINT MOTION TO MODIFY DISCOVERY AND PRE-TRIAL DEADLINES


       1.      Pursuant to CMO 32, entered February 25, 2010 (Master Dkt. No. 6926), the

Court has established the following deadlines for upcoming discovery and pre-trial events:



                    EVENT                                                DEADLINE

Deadline for all parties to complete fact              April 15, 2011
discovery
Plaintiffs’ deadline to serve expert reports and       May 6, 2011
other materials in compliance with Fed. R. Civ.
P. 26(a)(2)(B)
Deadline for defendants to depose plaintiffs’          June 3, 2011
experts
Defendants’ deadline to serve expert reports           June 17, 2011
and other materials in compliance with Fed. R.
Civ. P. 26(a)(2)(B)
Deadline for plaintiffs to depose defendants’          July 15, 2011
experts
Deadline for all parties to file motions for           August 19, 2011
summary judgment
Deadline for all parties to file responses to          September 23, 2011
motions for summary judgment

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Deadline for all parties to file replies to October 21, 2011
responses to motions for summary judgment
Deadline for all parties to file sur-replies to the November 11, 2011
replies filed in response to the motions for
summary judgment


       2.      Since the entry of CMO 32, the parties have worked toward these deadlines

actively and in good faith. For example, all parties have exchanged initial disclosures, served at

least one set of discovery requests, responded to at least one set of discovery requests, and begun

the exchange of substantial document productions.

       3.      In early December of 2010, moreover, each defendant began exploring potential

settlement options with the relator through the aid of Mediator Eric Green.

       4.      After conferring about the current status of these efforts and the deadlines set

forth in CMO 32, the parties now agree that additional time is needed to: (1) continue discussing

any potential settlement options; (2) obtain and review adequate fact discovery; (3) complete

expert discovery; and (4) draft and file motions for summary judgment.

       5.      For these reasons, the parties jointly request that the Court modify the schedule

set forth in CMO 32 by extending the upcoming deadlines by 90 days as follows:

                   EVENT                                        MODIFIED DEADLINE

Deadline for all parties to complete fact              July 15, 2011
discovery
Plaintiffs’ deadline to serve expert reports and       August 5, 2011
other materials in compliance with Fed. R. Civ.
P. 26(a)(2)(B)
Deadline for defendants to depose plaintiffs’          September 2, 2011
experts
Defendants’ deadline to serve expert reports           September 16, 2011
and other materials in compliance with Fed. R.
Civ. P. 26(a)(2)(B)
Deadline for plaintiffs to depose defendants’          October 14, 2011
experts
Deadline for all parties to file motions for           November 18, 2011

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summary judgment
Deadline for all parties to file responses to December 23, 2011
motions for summary judgment
Deadline for all parties to file replies to         January 20, 2012
responses to motions for summary judgment
Deadline for all parties to file sur-replies to the February10, 2012
replies filed in response to the motions for
summary judgment


       6.     For the Court’s convenience, a Proposed Order is attached.



                                   Respectfully Submitted,


ON BEHALF OF ALL DEFENDANTS                               ON BEHALF OF RELATORS/
                                                          PLAINTIFFS

s/Kimberly Perrotta Cole                                  s/Glenn W. MacTaggart ___
WILLIAMS & CONNOLLY LLP                                   PRITCHARD, HAWKINS,
Paul K. Dueffert (admitted pro hac vice)                  MCFARLAND & YOUNG, LLP
Jennifer G. Wicht (admitted pro hac vice)                 Glenn W. MacTaggart
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Counsel for Par Pharmaceutical, Inc.                      Counsel for Relator Ven-A-Care of
& Par Pharmaceutical Companies, Inc.                      the Florida Keys, Inc.


Dated: March 22, 2011




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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
Ex. rel.
         VEN-A-CARE OF THE FLORIDA
         KEYS, INC., a Florida corporation,
         by and through its principal officers
         and directors, ZACHARY T. BENTLEY
         and T. MARK JONES,                            MDL No. 1456

             Plaintiff,                                Master File No. 01-cv-12257-PBS

ACTAVIS MID ATLANTIC LLC, et al.                       Subcategory No. 06-11337-PBS
                                                       Civil Action No. 08-CV-10852
             Defendants
                                                       Judge Patti B. Saris


                                 [PROPOSED] CMO No. ___


       Upon consideration of the parties’ Joint Motion to Modify Discovery and Pre-Trial

Deadlines filed on March 22, 2011, it is hereby ORDERED that the Pre-Trial Schedule set forth

on page 14 of CMO 32 (Master Dkt. No. 6926), entered by this Court on February 25, 2010, is

hereby MODIFIED as follows:

                   ACTION                                               DEADLINE

Deadline for all parties to complete fact              July 15, 2011
discovery
Plaintiffs’ deadline to serve expert reports and       August 5, 2011
other materials in compliance with Fed. R. Civ.
P. 26(a)(2)(B).
Deadline for defendants to depose plaintiffs’          September 2, 2011
experts
Defendants’ deadline to serve expert reports           September 16, 2011
and other materials in compliance with Fed. R.
Civ. P. 26(a)(2)(B).
Deadline for plaintiffs to depose defendants’          October 14, 2011
experts
Deadline for all parties to file motions for           November 18, 2011

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summary judgment
Deadline for all parties to file responses to December 23, 2011
motions for summary judgment
Deadline for all parties to file replies to January 20, 2012
responses to motions for summary judgment
Deadline for all parties to file sur-replies to the February 10, 2012
replies filed in response to the motions for
summary judgment


       This Order modifies CMO 32 only to the extent set forth above and in no way affects,

alters, or changes any other portion of CMO 32.

       SO ORDERED.


________________                            ______________________________________
Date                                        The Honorable Patti B. Saris
                                            UNITED STATES DISTRICT COURT JUDGE




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                               CERTIFICATE OF SERVICE


       I, Kimberly Perrotta Cole, counsel for defendants Par Pharmaceutical, Inc. & Par

Pharmaceutical Companies, Inc., and on behalf of those defendants as well as defendants Actavis

MidAtlantic, LLC; Alpharma Inc.; Alpharma USPD Inc. f/k/a Barre-National, Inc; Barre Parent

Corp.; Sandoz Inc. f/k/a Geneva Pharmaceuticals, Inc.; Watson Pharmaceuticals, Inc.; and

Schein Pharmaceutical Inc., and relator Ven-A-Care of the Florida Keys, Inc., hereby certify that

I have caused a true copy of the foregoing Joint Motion to Modify Discovery and Pre-Trial

Deadlines and the corresponding Proposed Order to be delivered to all counsel of record via

CM/ECF filing and via the Lexis Nexis File & Serve system this 22nd day of March, 2011.




                                                    s/Kimberly Perrotta Cole
                                                      Kimberly Perrotta Cole




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